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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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AMOS FINANCIAL LLC,                                          :
                                                             :     Case No.: 24-CV-________
                                    Plaintiff,               :
v.                                                           :
                                                             :     COMPLAINT
                                                             :
OLUWOLE ADEBOWALE,                                           :
                                                             :
                                    Defendant.               :
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                                                I. Introduction

        The Plaintiff, Amos Financial LLC, pursuant to Fed. R. Civ. P. 69 and CPLR 5014, seeks

a renewal judgment against the Defendant, Oluwole Adebowale. Amos further seeks a new

judgment lien for a period of ten years from the date the court enters the renewal judgment.

                                                 II. The Parties

        1.       The Plaintiff, Amos Financial LLC (“Amos”) is a limited liability company

organized under the laws of the State of Illinois with a principal place of business at 3330 Skokie

Valley Road, Highland Park, IL 60035.

        2.       Amos has one member who is a resident of the State of Illinois.

        3.       The Defendant, Oluwole Adebowale (“Mr. Adebowale”) has a last known address

of 1173 Dean Street, Brooklyn, NY 11216. Upon information and belief, Mr. Adebowale left the

country to avoid prosecution. See
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https://www.justice.gov/archive/usao/nys/pressreleases/October09/operationbaddeedspr.pdf

                                       III. Jurisdiction and Venue

        4.      This Court has subject- matter jurisdiction over this case by virtue of the diversity

of citizenship of the parties, pursuant to 28 U.S.C. § 1332(a)(2), in that the matter in controversy

exceeds $75,000.00 and is between a citizen of the State of Illinois and a Citizen of the State of

New York.

        5.      Venue is proper in this district pursuant to 29 U.S.C. § 1391(b)(2) as the

Judgment was entered in this Judicial District and because the events underlying the Judgment

occurred in this District.

                                             IV. Facts

        6.      On or about August 18, 2008 AmTrust Bank filed a complaint in Case 2:08-cv-

03369 (TCP)(WCW) in the U.S. District Court for the Eastern District of New York against Mr.

Adebowale, among other Defendants. Mr. Adebowale was accused of fraud in connection with a

loan made by AmTrust Bank for Mr. Adebowale to acquire the property commonly known as

1173 Dean Street, Brooklyn, NY 11216. Doc. No. 1 at paragraphs 308 through 324.

        7.      Mr. Adebowale was served on September 9, 2008. Doc. No. 13. Mr. Adebowale

did not file an answer and AmTrust Bank filed a motion for default judgment against Mr.

Adebowale. Doc. No. 74. On or about June 16, 2009 a money judgment was entered against Mr.

Adebowale in the amount of $1,113,912.61 plus interest on this amount accruing at 9% until the

judgment is paid in full (“Judgment”). Doc. No. 77.

        8.      On or about January 27, 2010 the FDIC as Receiver for AmTrust Bank was

substituted in as the Plaintiff. Doc. No. 120. Amos Financial LLC subsequently acquired the

Judgment from the FDIC.



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       9.      On or about August 7, 2015 Amos filed a motion to enter partial assignment of

judgment in order to assign the Judgment to Amos. Doc. No. 232. On or about October 14, 2015

the motion to enter partial assignment of judgment was granted. See Exhibit 1 attached hereto.

       10.     On or about June 24, 2009 a transcript of the Judgment against Mr. Adebowale

was docketed with the Kings County Clerk of New York thereby creating a lien on any property

owned by Mr. Adebowale in Kings County (“Judgment Lien”). See Exhibit 2 attached hereto.

On or about February 23, 2015 the Judgment Lien of said transcript of judgment was assigned to

Amos. See Exhibit 3 attached hereto.

       11.     More than ten years have elapsed since the Judgment was entered against Mr.

Adebowale. More than ten years have elapsed since the transcript of the Judgment against Mr.

Adebowale was docketed with the Kings County Clerk.

       12.     To date, no part of the Judgment has been satisfied. See Exhibit 4.

       13.     As of December 22, 2023 balance of the Judgment is $2,570,177.87 which

consists of the original principal amount of the Judgment, being $1,113,912.61, plus post-

judgment interest in the amount of $1,456,265.26.

                                              V. Causes of Action

                            Count 1. Renewal of Judgment and of Judgment Lien

       14.     Amos seeks a renewal judgment pursuant to CPLR 5014, for a period of ten

years, in the amount of $1,113,912.61, which is the original principal amount of the Judgment,

plus post-judgment interest in the amount of $1,456,265.26 as of December 22, 2023, with post-

judgment interest at the rate of 9% from December 23, 2023.

       15.     Amos further seeks, pursuant to its renewal judgment, a new Judgment Lien

for a period of ten years from the date the court enters the renewal judgment.



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WHEREFORE, Plaintiff requests that the Court:

   1) Enter a renewal judgment for the Plaintiff for a period of ten years, in the amount of

       $1,113,912.61 plus post-judgment interest in the amount of $1,456,265.26 as of

       December 22, 2023, with post-judgment interest at the rate of 9% from December 23,

       2023.

   2) Enter a new Judgment Lien for a period of ten years from the date the court enters the

       renewal judgment.


Respectfully Submitted,

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Dated: January 15, 2024




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